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                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        AMARILLO DIVISION

     STATE OF MISSOURI, et al.,

                Intervenor Plaintiffs,

     Vv.                                                            2:22-CV-223-Z

|    U.S. FOOD AND DRUG
     ADMINISTRATION, et ai.,

                Defendants,

|    and

     DANCO LABORATORIES, LLC,

                Intervenor Defendant.

                                                   ORDER

            Before the Court is the State of Kansas’s Motion to Withdraw (“Motion”) (ECF No. 224),

     filed January 30, 2025. Kansas requests that Abhishek S. Kambli be withdrawn as counsel because he

     “will be leaving the employment of the Office of the Kansas Attorney General.” ECF No. 224 at 1.
|

            Northern District of Texas Local Civil Rule 83.12 governs withdraw of counsel. Having

     considered the Motion and the relevant law, the Court GRANTS          the Motion and DIRECTS       the

     Clerk of the Court that Abhishek S. Kambli should be withdrawn as counsel in this case.




                                                                                    a
            SO ORDERED.

            February 3, 2025


                                                           MATTHEW J. KACSMARYK
                                                           UNITED      STATES DISTRICT JUDGE
